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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL PAUL COLON,

                                 Plaintiff,
             -v-                                             Civ. No. 8:19-CV-1301
                                                                  (LEK/DJS)
RANDOLPH-MACON ACADEMY; DAVID C.
WESLEY, President of R-MA; and RANDOLPH-MACON
ACADEMY BOARD OF TRUSTEES,

                                 Defendants.



APPEARANCES:                                          OF COUNSEL:

MICHAEL PAUL COLON
Plaintiff Pro Se
12 Walnut Street
Apt. 2
Potsdam, New York 13676

DANIEL J. STEWART
United States Magistrate Judge

                             DECISION and ORDER

      The Clerk has sent the undersigned Plaintiff’s civil Complaint for review

pursuant to 28 U.S.C. § 1915(e). Dkt. No. 1, Compl. Plaintiff has not paid the filing

fee, but instead submitted a Motion to Proceed in forma pauperis (“IFP”). Dkt. No. 2,

IFP App.

      The Complaint alleges violations of Plaintiff’s constitutional rights as well as

statutory claims under Title VII and Title IX. See generally Compl. The gravamen of

the Complaint relates to events concerning the end of Plaintiff’s employment at
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Randolph Macon Academy, which is located in Front Royal, Virginia, and Plaintiff’s

subsequent interactions with Defendants. Id. The named Defendants are Randolph

Macon Academy, as well as, its President and its Board of Trustees. Id. at pp. 2-3. Other

facts outlined in the Complaint concern events in Rhode Island and Wisconsin. Id. at

pp. 9-11.

       Under the statute governing venue in federal courts, venue is appropriate where

any defendant resides or in the “judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred.” 28 U.S.C. § 1391(b). Here, the events

at issue in this action relate largely to alleged conduct by Defendants in Virginia. Front

Royal is located in Warren County, Virginia, within the Western District of Virginia.

28 U.S.C. § 127(b); https://www.warrencountyva.net. Given the identities of the named

Defendants and that the Western District of Virginia is the location of many of the events

at issue, it is clearly the proper venue for this litigation. The only apparent connection

to the Northern District of New York is the fact that Plaintiff is a resident of this District.

That alone, however, does not establish proper venue in this District. Harris v. Case,

2014 WL 2116987, at *3 (N.D.N.Y. May 20, 2014) (“plaintiff’s residence is irrelevant

for venue purposes”).

       “This Court may sua sponte transfer an action in the interest of justice and for the

convenience of the parties and witnesses, pursuant to 28 U.S.C. § 1404(a).” Taite v.

Colgate Univ., 2012 WL 9334547, at *1 (E.D.N.Y. July 11, 2012). Here, there is “no

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nexus” between the facts of this case and the Northern District of New York and

“[P]laintiff has not alleged any nexus of any party to this judicial district.” Id. Given

that this action “might have been brought” in the Western District of Virginia, transfer

to that District is appropriate in this case for the convenience of the parties and witnesses.

Id.; Abreu v. Brown, 2018 WL 565280, at *11 (W.D.N.Y. Jan. 22, 2018) (transferring

claims when “[t]he witnesses and the required documents will be found” in another

district); Praileau v. United States, 2017 WL 4350585, at *2 (S.D.N.Y. July 19, 2017)

(similar).

       Accordingly, the Clerk is directed to transfer this action to the Western District

of Virginia for all further proceedings including initial review under 28 U.S.C. § 1915(e)

and a determination of Plaintiff’s IFP application. See Taite v. Colgate Univ., 2012 WL

9334547, at *2.

       ACCORDINGLY, it is hereby

       ORDERED, that this action be transferred to the Western District of Virginia;

and it is further

       ORDERED, that the Clerk of the Court serve a copy of this Order upon the

parties to this action.

Date: November 5, 2019
      Albany, New York




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